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                                                                                             2    1-1
UNITED STATES COURT OF INTERNATIONAL TRADE                                        FORM 1

        ABSPECIALTY SILICONES LLC
                                   Plaintiff,
                                                                   S U MMO N S
                          v.                                       Court No. 25-00099

               UNITED STATES,
                           Defendant.

TO:       The Attorney General and the Secretary of Homeland Security:

        PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                        Isl Mario Toscano
                                                        Clerk of the Court


                                                PROTEST
 Port(s) of     Chicago O'Hare Airport                 Center(ifknown): CEE041
 Entrv:
 Protest        390120116087                           Date Protest Filed: July 23, 2020
 Number:
 Importer:      AB Specialty Silicones LLC             Date Protest Denied: April 24, 2025
 Category of         various silicone compounds
 r..n         ;cp•


                               ENTRIES INVOLVED IN ABOVE PROTEST
         Entry Date of                   Date of           Entry            Date of            Date of
        Number  Entrv                  Liauidation        Number             Entrv           Liauidation
F2370115909 June 15,                  April 24, 2020
            2019




                                                         Name, Address, Telephone Number
                                                         and E-mail Address of Plaintiffs Attorney

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